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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

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     (Admitted pro hac vice)

     ATTORNEYS FOR DEBTOR
     In re:                                                      Chapter 11

     LTL MANAGEMENT LLC, 1                                       Case No.: 21-30589 (MBK)

                                Debtor.                          Judge: Michael B. Kaplan
     LTL MANAGEMENT LLC,

                            Plaintiff,
     v.                                                          Adv. No. 22-1231 (MBK)
     STATE OF NEW MEXICO, ex rel. HECTOR H.
     BALDERAS, Attorney General, and STATE OF
     MISSISSIPPI, ex rel. JIM HOOD, Attorney General,

                                Defendants.

                          NOTICE OF AGENDA OF MATTER SCHEDULED
                        FOR HEARING ON NOVEMBER 30, 2022 AT 11:00 A.M.

                             Parties are directed to https://www.njb.uscourts.gov/LTL
                      for appearing via Court-Solutions or in-person, or observing via Zoom.

 1
              The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
              501 George Street, New Brunswick, New Jersey 08933.



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 MATTER GOING FORWARD

 1.      Motion of States of New Mexico and Mississippi for Certification of Direct Appeal to the
         United States Court of Appeals for the Third Circuit [Dkt. 3256; Adv. Pro. Dkt. 37]
         (the “Certification Motion”).

         Status: This matter is going forward.

         Objection Deadline: November 22, 2022 by 5:00 p.m., prevailing Eastern Time.

         Related Documents:

         A.       Debtor’s Verified Complaint for Injunctive Relief (I) Preliminarily Enjoining the
                  Prosecution of the New Mexico and Mississippi State Actions and (II) Granting a
                  Temporary Restraining Order Pending a Final Hearing [Adv. Pro. Dkt. 1].

         B.       Debtor’s Motion for an Order (I) Preliminarily Enjoining the Prosecution of the
                  New Mexico and Mississippi State Actions and (II) Granting a Temporary
                  Restraining Order Pending a Further Hearing [Adv. Pro. Dkt. 2] (the “PI
                  Motion”).

         C.       Proposed Preliminary Injunction Order [Adv. Pro. Dkt. 3].

         D.       Proposed Temporary Restraining Order [Adv. Pro. Dkt. 4].

         E.       Declaration of John K. Kim in Support of Debtor’s Verified Complaint for
                  Injunctive Relief and Related Motion With Respect to the New Mexico and
                  Mississippi State Actions [Adv. Pro. Dkt. 5].

         F.       Application to Shorten Time [Adv. Pro. Dkt. 6].

         G.       Order Granting Application to Shorten Time [Adv. Pro. Dkt. 7].

         H.       Summons Issued for Service [Adv. Pro. Dkt. 8].

         I.       Consent Order Regarding (I) Briefing Schedule for Debtor’s Motion for an Order
                  Preliminarily Enjoining the Prosecution of the New Mexico and Mississippi State
                  Actions, (II) Agreed Stay of Such Actions and (III) Extension of the Time For
                  Defendants to Respond to the Complaint [Adv. Pro. Dkt. 15].

         J.       The States’ Opposition to Debtor’s Motion for Injunction Relief [Adv. Pro.
                  Dkt. 18] (the “States’ Opposition”).

         K.       Declaration of Robert K. Malone Pursuant to 28 U.S.C. § 1746 in Support of the
                  States’ Opposition [Adv. Pro. Dkt. 19].

         L.       Objection of the Ad Hoc Committee of States Holding Consumer Protection
                  Claims to the PI Motion [Adv. Pro. Dkt. 21].


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         M.       Statement of the Official Committee of Talc Claimants in Support of the States’
                  Opposition [Adv. Pro. Dkt. 22].

         N.       Maune Raichle Hartley French & Mudd, LLC’s Joinder to Statements in Support
                  of the States’ Opposition [Adv. Pro. Dkt. 23].

         O.       The Debtor’s Reply in Support of the PI Motion [Adv. Pro. Dkt. 24].

         P.       The Debtor’s Letter to the Court, dated August 22, 2022 [Adv. Pro. Dkt. 26].

         Q.       The States of New Mexico and Mississippi Letter to the Court, dated
                  August 22, 2022 [Adv. Pro. Dkt. 27].

         R.       Memorandum Opinion [Dkt. 3110; Adv. Pro. Dkt. 31].

         S.       Order Granting the PI Motion [Adv. Pro. Dkt. 33].

         T.       Joint Notice of Appeal [Dkt. 3238; Adv. Pro. Dkt. 34].

         U.       Application for an Order Shortening Time and Scheduling Hearing on the
                  Certification Motion [Dkt. 3257; Adv. Pro. Dkt. 38].

         V.       Order Shortening Time Period for Notice, Setting Hearing and Limiting Notice of
                  the Certification Motion [Adv. Pro. Dkt. 41].

         W.       Joinder of the Ad Hoc Committee of States to the Certification Motion [Adv. Pro.
                  Dkt. 46].

         X.       Reply in Support of the Certification Motion [Dkt. 3375; Adv. Pro. Dkt. 48].

         Objections Received:

         Y.       Debtor’s Objection to the Certification Motion [Dkt. 3355; Adv. Pro. Dkt. 47].




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  Dated: November 28, 2022                  WOLLMUTH MAHER & DEUTSCH LLP

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